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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
    -------------------------------------------------------------------------x    Docket No. 1:23-cv-08633
    DOREL ANDERSON                                                                (RER) (RML)
                                               Plaintiff,                         NOTICE OF VOLUNTARY
                                                                                  DISMISSAL PURSUANT
                               v.
                                                                                  TO F.R.C.P. 41(a)(1)(A)(i)
    1926 ASSETS LLC AND FULTON SANDBOX LLC
                                                 Defendants.
    --------------------------------------------------------------------------x

   NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

           Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff

   Dorel Anderson and counsel hereby gives notice that the above-captioned action is

   voluntarily dismissed, without prejudice against the Defendants.


   Dated: March 5, 2024
          New York, New York

         PARKER HANSKI LLC




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